      Case:3:14-cv-02346-JCS
      Case  20-17363, 04/05/2022, ID: 12413094,
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                                                                         FILED
                  UNITED STATES COURT OF APPEALS                          APR 5 2022

                                                                      MOLLY C. DWYER, CLERK
                         FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




DAVID WIT; et al.,                            No.    20-17363
                                                     21-15193
           Plaintiffs-Appellees,
                                              D.C. No. 3:14-cv-02346-JCS
LINDA TILLITT; MARY JONES,                    Northern District of California,
                                              San Francisco
           Intervenor-Plaintiffs-
           Appellees,
                                              ORDER
v.

UNITED BEHAVIORAL HEALTH,

           Defendant-Appellant.



GARY ALEXANDER, on his own behalf             No.    20-17364
and on behalf of his beneficiary son,                21-15194
Jordan Alexander; et al.,
                                              D.C. No. 3:14-cv-05337-JCS
           Plaintiffs-Appellees,              Northern District of California,
                                              San Francisco
MICHAEL DRISCOLL,

           Intervenor-Plaintiff-
           Appellee,

v.

UNITED BEHAVIORAL HEALTH,

           Defendant-Appellant.
          Case:3:14-cv-02346-JCS
          Case  20-17363, 04/05/2022, ID: 12413094,
                                  Document          DktEntry:
                                             587 Filed        94, Page
                                                       04/05/22    Page22ofof22




Before: CHRISTEN and FORREST, Circuit Judges, and ANELLO,* District
Judge.

      Plaintiffs-Appellees’ motion for an order extending the deadline to file a

petition for panel rehearing or rehearing en banc (Dkt. #93) by thirty days is

GRANTED. The new deadline is May 5, 2022.




      *
            The Honorable Michael M. Anello, United States District Judge for
the Southern District of California, sitting by designation.
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